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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                               Civil No. 2:15-cv-
                 Plaintiff,
                                               Honorable
vs.                                            Magistrate Judge

                                               DEMAND FOR JURY TRIAL
MISCELLANEOUS COLLECTIBLE
COINS AND MEDALS SEIZED IN
JANUARY 2012 FROM REAL PROPERTY LOCATED
ON LAKESHORE STREET, WEST BLOOMFIELD,
MICHIGAN; TWO THOUSAND NINE HUNDRED EIGHTY-ONE
DOLLARS ($2,981.00) IN U.S. CURRENCY;
ASSORTED COLLECTIBLE COINS AND
ASSORTED COLLECTIBLE CURRENCY FROM
PNC BANK SAFE DEPOSIT BOX #7062700003; ASSORTED
COLLECTIBLE COINS FROM PNC SAFE
DEPOSIT BOX #91; ASSORTED COLLECTIBLE
COINS FROM PNC BANK SAFE DEPOSIT BOX #102;
ASSORTED COLLECTIBLE COINS FROM PNC BANK
SAFE DEPOSIT BOX #110; ASSORTED
COLLECTIBLE COINS AND ASSORTED
METAL ITEMS FROM PNC BANK SAFE DEPOSIT
BOX #377001664; ASSORTED COLLECTIBLE
COINS, ASSORTED COLLECTIBLE CURRENCY
AND OTHER MISCELLANEOUS COLLECTIBLE
ITEMS FROM PNC BANK SAFE DEPOSIT BOX #173;
ASSORTED COLLECTIBLE COINS FROM PNC BANK
SAFE DEPOSIT BOX #377003256; ASSORTED
COLLECTIBLE COINS FROM PNC BANK SAFE DEPOSIT
BOX #503; ASSORTED COLLECTIBLE COINS,
ASSORTED COLLECTIBLE CURRENCY AND OTHER
MISCELLANEOUS COLLECTIBLES FROM PNC BANK
SAFE DEPOSIT BOX #519; ASSORTED
COIN COLLECTION AND MISCELLANEOUS
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SAVINGS BONDS FROM FIFTH THIRD BANK SAFE
DEPOSIT BOX #148; ASSORTED COIN
COLLECTION AND MISCELLANEOUS
JEWELRY FROM FIFTH THIRD BANK SAFE
DEPOSIT BOX #149; ASSORTED COIN COLLECTION
AND ASSORTED COLLECTIBLE CURRENCY FROM
FIFTH THIRD BANK SAFE DEPOSIT BOX #307; ASSORTED COIN
COLLECTION FROM FIFTH THIRD BANK SAFE
DEPOSIT BOX #308; ASSORTED COIN COLLECTION
FROM FIFTH THIRD BANK SAFE DEPOSIT BOX #309;
ASSORTED COIN COLLECTION AND
ASSORTED COLLECTIBLE CURRENCY FROM
FIFTH THIRD BANK SAFE DEPOSIT BOX #310;
ASSORTED COIN COLLECTION AND OTHER
MISCELLANEOUS COLLECTIBLE ITEMS FROM
FIFTH THIRD BANK SAFE DEPOSIT BOX #311;
SIX (6) BOXES OF ASSORTED COLLECTIBLE
COINS, ASSORTED COLLECTIBLE CURRENCY
AND ASSORTED SILVER BARS SEIZED IN MAY 2014,
FROM REAL PROPERTY LOCATED ON LAKESHORE
STREET, WEST BLOOMFIELD, MICHIGAN;
MERRILL LYNCH ACCOUNT NO. XXX-X5635 VALUED
AT $228,457.34; MERRILL LYNCH ACCOUNT NO. XXX-X8161;
VALUED AT $219,558.91; MERRILL LYNCH ACCOUNT
NO. XXX-X7984 VALUED AT $1,305,841.18;
ONE HUNDRED TWELVE THOUSAND SIX HUNDRED
NINETY-TWO DOLLARS AND SEVENTY-FIVE CENTS
($112,692.75) FROM FIFTH THIRD BANK ACCOUNT
NO. XXXXXX3413; THIRTY-THREE THOUSAND SEVENTY-TWO
DOLLARS AND EIGHTY-SEVEN CENTS
($33,072.87) FROM FIFTH THIRD BANK ACCOUNT
NO. XXXXXX9169; EIGHTEEN THOUSAND NINE HUNDRED
FORTY-EIGHT DOLLARS AND NINETY-TWO CENTS
($18,948.92) IN U.S. CURRENCY FROM FIFTH THIRD
BANK ACCOUNT NO. XXXXXX2593; THIRTY THOUSAND FOUR
HUNDRED FOURTEEN DOLLARS AND FIFTEEN CENTS
($30,414.15) IN U.S. CURRENCY FROM FIFTH THIRD BANK
ACCOUNT NO. XXXXXX5381; THREE HUNDRED
TWENTY-EIGHT THOUSAND NINE HUNDRED
SEVENTY-FIVE DOLLARS AND TWENTY-TWO CENTS
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($328,975.22) IN U.S. CURRENCY FROM FIFTH THIRD
BANK ACCOUNT NO. XXXXXX7731; AND, SIX HUNDRED
TWENTY-TWO THOUSAND EIGHT HUNDRED DOLLARS
AND EIGHTEEN CENTS ($622,800.18) IN U.S. CURRENCY
FROM PROCEEDS OF SALE OF REAL PROPERTY LOCATED
ON LAKESHORE STREET, WEST BLOOMFIELD, MICHIGAN

               Defendants in Rem.
______________________________________/

                         COMPLAINT FOR FORFEITURE

        NOW COMES Plaintiff, the United States of America, by and through

BARBARA L. McQUADE, United States Attorney for the Eastern District of

Michigan, and JONATHAN J.C. GREY, Assistant United States Attorney, and

states upon information and belief in support of this Complaint for Forfeiture in rem

that:

                           JURISDICTION AND VENUE

        1.     This is an in rem civil forfeiture action brought by the United States of

America pursuant to 21 U.S.C. § 881(a)(6), 18 U.S.C. §§ 981 (a)(1)(A) and/or

981(a)(1)(C), resulting from violations of 21 U.S.C. §§ 841(a)(1) and 846, and 18

U.S.C. § 1347, 1349 and/or 1956.

        2.     This Court has subject matter jurisdiction over this proceeding

pursuant to:

               a.    28 U.S.C. § 1345, because this action is being commenced by

the United States of America as Plaintiff; and
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              b.      28 U.S.C. § 1355(a), because this is an action for forfeiture.

       3.     This Court has in rem jurisdiction over this forfeiture action pursuant

to:

              a.     28 U.S.C. § 1355(b)(1)(A), because pertinent acts or omissions

giving rise to the forfeiture occurred in the Eastern District of Michigan; and

              b.     28 U.S.C. § 1355(b)(1)(B), because venue properly lies in the

Eastern District of Michigan pursuant to 28 U.S.C. § 1395.

       4.     Venue is proper in the District Court for the Eastern District of

Michigan, pursuant to 28 U.S.C. § 1355(b)(1), because the acts or omissions giving

rise to the forfeiture occurred in this district.

                               DEFENDANTS IN REM

       5.     The defendant property consists of the following property:

              a.     A collection of various miscellaneous coins and medals, which

                     was seized from 6550 Lakeshore Street, West Bloomfield,

                     Michigan, on or about January 26, 2012;

              b.     Two Thousand Nine Hundred Eighty-One Dollars ($2,981.00) in

                     U.S. Currency which was seized from 5889 Bay Road, Suite

                     104, Saginaw, Michigan, on or about January 26, 2012;

              c.     Assorted Collectible Coins and Assorted Collectible Currency


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                seized on or about May 6, 2014, from PNC Bank Safe Deposit

                Box #7062700003;

          d.    Assorted Collectible Coins seized on or about May 6, 2014, from

                PNC Bank Safe Deposit Box #91;

          e.    Assorted Collectible Coins seized on or about May 6, 2014, from

                PNC Bank Safe Deposit Box #102;

          f.    Assorted Collectible Coins seized on or about May 6, 2014, from

                PNC Bank Safe Deposit Box #110;

          g.    Assorted Collectible Coins and Assorted Metal Items seized on

                or about May 6, 2014, from PNC Bank Safe Deposit Box

                #377001664;

          h.    Assorted Collectible Coins, Assorted Collectible Currency and

                Assorted Collectible Baseball Cards seized on or about May 6,

                2014, from PNC Bank Safe Deposit Box #173;

          i.    Assorted Collectible Coins seized on or about May 6, 2014, from

                PNC Bank Safe Deposit Box #377003256;

          j.    Assorted Collectible Coins seized on or about May 6, 2014, from

                PNC Bank Safe Deposit Box #503;

          k.    Assorted Collectible Coins, Assorted Collectible Currency and


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                other Miscellaneous Collectibles seized on or about May 6,

                2014, from PNC Bank Safe Deposit Box #519;

          l.    Assorted Coin Collection and Miscellaneous Savings Bonds

                seized on or about May 6, 2014, from Fifth Third Bank Safe

                Deposit Box #148;

          m.    Assorted Coin Collection and Miscellaneous Jewelry seized on

                or about May 6, 2014, from Fifth Third Bank Safe Deposit Box

                #149;

          n.    Assorted Coin Collection and Assorted Collectible Currency

                seized on or about May 6, 2014, from Fifth Third Bank Safe

                Deposit Box #307;

          o.    Assorted Coin Collection seized on or about May 6, 2014, from

                Fifth Third Bank Safe Deposit Box #308;

          p.    Assorted Coin Collection seized on or about May 6, 2014, from

                Fifth Third Bank Safe Deposit Box #309;

          q.    Assorted Coin Collection and Assorted Collectible Currency

                seized on or about May 6, 2014, from Fifth Third Bank Safe

                Deposit Box #310;

          r.    Assorted Coin Collection, Miscellaneous Sports Cards and


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                Miscellaneous Stamps seized on or about May 6, 2014, from

                Fifth Third Bank Safe Deposit Box #311;

          s.    Six (6) Boxes of Assorted Collectible Coins, Assorted

                Collectible Currency and Assorted Silver Bars, seized from real

                property located at Lakeshore Street, West Bloomfield,

                Michigan, on or about May 6, 2014;

          t.    Merrill Lynch Investment Account #XXX-X5635 Valued at

                $228,457.34, held in the name of Gavin I. Awerbuch, M.D. The

                account was frozen on or about May 6, 2014;

          u.    Merrill Lynch Investment Account #XXX-X8161 Valued at

                $219,558.91, held in the name of Gavin Awerbuch. The

                account was frozen on or about May 6, 2014;

          v.    Merrill Lynch Investment Account #XXX-X7984 Valued at

                $1,305,841.18, held in the name of Gavin Awerbuch. The

                account was frozen on or about May 6, 2014;

          w.    $112,692.75 in U.S. Currency from Fifth Third Bank Account

                #XXXXXX3413, held in the name of Gavin Awerbuch, M.D.,

                which was seized on or about May 6, 2014;

          x.    $33,072.87 in U.S. Currency from Fifth Third Bank Account


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                   #XXXXXX9169, held in the name of Gavin Awerbuch, M.D.,

                   PLLC, which was seized on or about May 6, 2014;

            y.     $18,948.92 in U.S. Currency from Fifth Third Bank Account

                   #XXXXXX2593, held in the name of A Plus Medical Supply,

                   LLC, which was seized on or about May 6, 2014;

            z.     $30,414.15 in U.S. Currency from Fifth Third Bank Account

                   #XXXXXX5381, held in the name of Gavin Awerbuck and

                   Jerome B. Awerbuch, which was seized on or about May 6,

                   2014;

            aa.    $328,975.22 in U.S. Currency from Fifth Third Bank Account

                   #XXXXXX7731, held in the name of Gavin Awerbuch, M.D.,

                   PLLC, which was seized on or about May 6, 2014;

            bb.    $622,800.18 in U.S. Currency from Seaver Title Agency LLC

                   Check No. 58434, representing funds seized on or about July 1,

                   2014, as proceeds from the sale of real property located at 6550

                   Lakeshore Street, West Bloomfield, Michigan.

      (The defendants in rem shall hereafter be collectively referred to as the

“Defendant Property”).

      6.    The defendants in rem, or Defendant Property, identified in Paragraph


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5 a. through 5 cc. above were seized pursuant to federal search and seizure warrants

executed on or about January 26, 2012 and May 6, 2014, based upon an

investigation by members of the United States Department of Health and Human

Services (HHS), Office of the Inspector General (OIG), Office of Investigations

(OI); the United States Drug Enforcement Administration (DEA); the Federal

Bureau of Investigation (FBI); and, the Internal Revenue Service (IRS).

               STATUTORY BASIS FOR CIVIL FORFEITURE

      7.      United States Code, Section 881, governs the civil forfeiture of

property which constitutes or is derived from the proceeds of narcotics crimes, or

which was used to facilitate narcotics crimes:

              The following shall be subject to forfeiture to the United States
              and no property right shall exist in them....[a]ll moneys,
              negotiable instruments, securities, or other things of value
              furnished or intended to be furnished by any person in exchange
              for a controlled substance or listed chemical in violation of this
              subchapter, all proceeds traceable to such an exchange, and all
              moneys, negotiable instruments, and securities used or intended
              to be used to facilitate any violation of this subchapter.
              21 U.S.C. § 881(a)(6).

      8. Title 18 United States Code, Section 1956, prohibits the laundering of

           monetary instruments:

              Whoever, knowing that the property involved in a financial
              transaction represents the proceeds of some form of unlawful
              activity, conducts or attempts to conduct such a financial
              transaction which in fact involves the proceeds of specified

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           unlawful activity–
                (A)(i) with the intent to promote the carrying on of specified
                unlawful activity; or
                (ii) with intent to engage in conduct constituting a violation of
                section 7201 or 7206 of the Internal Revenue Code of 1986; or
                (B) knowing that the transaction is designed in whole or in
                part-
                (i) to conceal or disguise the nature, the location, the source,
                the ownership, or the control of the proceeds of specified
                unlawful activity; or
                (ii) to avoid a transaction reporting requirement under State or
                Federal law, shall be sentenced to a fine of not more than
                $500,000 or twice the value of the property involved in the
                transaction, whichever is greater…

                  18 U.S.C. § 1956(a)(1).

     9. Similarly, Title 18, United States Code, Section 1957, provides, in part:

           (a) Whoever, in any of the circumstances set forth in subsection
           (d), knowingly engages or attempts to engage in a monetary transaction
           in criminally derived property of a value greater than $ 10,000
           and is derived from specified unlawful activity, shall be punished as
           provided in subsection (b).
                                       ***

           (f) As used in this section--
           (1) the term "monetary transaction" means the deposit, withdrawal,
           transfer, or exchange, in or affecting interstate or foreign commerce,
           of funds or a monetary instrument (as defined in section 1956(c)(5)
           of this title) by, through, or to a financial institution (as defined in
           section 1956 of this title), including any transaction that would be a
           financial transaction under section 1956(c)(4)(B) of this title, but such
           term does not include any transaction necessary to preserve a person's
           right to representation as guaranteed by the sixth amendment to the
           Constitution;
           (2) the term "criminally derived property" means any property
           constituting, or derived from, proceeds obtained from a criminal

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             offense; and
             (3) the terms "specified unlawful activity" and "proceeds" shall have
             the meaning given those terms in section 1956 of this title.

             18 U.S.C. § 1957(a) and (f).


      10.    The Defendant Property is subject to forfeiture pursuant to 21 U.S.C.

§ 881(a)(6), 18 U.S.C. §§ 981 (a)(1)(A) and/or 981(a)(1)(C), because it constitutes

or is property derived from the proceeds of narcotics crimes in violation of 21

U.S.C. §§ 841, 846 and/or health care fraud in violation of 18 U.S.C. § 1347, 1349,

a specified unlawful activity as defined by 18 U.S.C. § 1956(c)(7) . The

Defendant Property is also subject to forfeiture pursuant to 18 U.S.C.

§ 981(a)(1)(A) because it is property involved in money laundering transactions in

violation of 18 U.S.C. §§ 1956(a)(1)(A)(i) and (B)(i) and 1957.


                             COMPANION CASES

      11.    This civil forfeiture action arises out of many of the same occurrences

or transactions associated with United States vs. Dr. Gavin Ira Awerbuch, Criminal

Complaint No. 11-mj-30216. Additionally, this civil forfeiture action is related to

the separate civil forfeiture action U.S. vs. Real Property Located at 6320 East Red

Range Way, Cave Creek, Maricopa County, Arizona, et al., Civil Case No.

14-cv-12045 (Honorable Thomas L. Ludington).



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              FACTUAL BASIS IN SUPPORT OF FORFEITURE

      12.    There is evidence that the Defendant Currency is forfeitable to the

United States of America pursuant to 18 U.S.C. §§ 981(a)(1)(A) and/or

981(a)(1)(C) and 21 U.S.C. § 881(a)(6). Evidence supporting this determination

includes, but is not limited to, the following:

      a.     Gavin Awerbuch (“AWERBUCH”) has been licensed as a medical

             doctor since on or about September 23, 1987. AWERBUCH

             specializes in neurology.

      b.     AWERBUCH incorporated Gavin Awerbuch, M.D. PLLC, in the State

             of Michigan, on or about May 14, 2008.

      c.     AWERBUCH was certified as a Medicare provider on or about

             September 23, 1987. AWERBUCH’s business, Gavin Awerbuch, M.D.

             PLLC, operates at 5889 Bay Road, Suite 104, Saginaw, MI 48604, in

             the Eastern District of Michigan.

      d.     On May 2, 2014, a Criminal Complaint in the United States District

             Court for the Eastern District of Michigan was filed against

             AWERBUCH, Criminal Case No. 2:14-mj-30216, alleging offenses of

             healthcare fraud and distribution of controlled substances. Search and

             seizure warrants have been issued and executed in this matter.


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     e.    Investigation revealed that between January 2009 and January 2014,

           AWERBUCH submitted approximately 42,780 claims to Medicare for

           2,437 Medicare beneficiaries totaling approximately $31,521,413.91,

           of which Medicare paid approximately $9,816,532.39.

     f.    Medicare is the federal health insurance program for the aged and

           disabled established by Congress in 1965. Medicare Part B covers

           certain doctors’ services, outpatient care, medical supplies, and

           preventive services. Medicare Part D involves prescription drug

           coverage.

     g.    Subsys is proprietary sublingual fentanyl spray for breakthrough cancer

           pain, or BTCP, in opioid-tolerant patients. Subsys is a delivery

           mechanism for liquid fentanyl formulations. Fentanyl is a Schedule II

           controlled substance.

     h.    Due to the risk for misuse, abuse, addiction and overdose, the Food and

           Drug Administration (FDA) provides that Subsys is only available

           through a program called Risk Evaluation and Mitigation Strategy

           (REMS) under the Trans mucosal Immediate-Release Fentanyl (TIRF).

     i.    Prescribers that wish to prescribe TIRF medications must sign

           documents stating, among other things, that they understand that “TIRF


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           medicines are indicated only for the management of breakthrough pain

           in patients with cancer, who are already receiving and who are tolerant

           to around-the-clock therapy for their underlying persistent pain.”

     j.    Medicare Part D has paid approximately $6,969,100 for dates of

           service of January 1, 2009 through February 6, 2014, for Subsys

           prescribed by AWERBUCH. AWERBUCH wrote approximately

           1,283 prescriptions for Subsys for Medicare beneficiaries during this

           time period making AWERBUCH the top prescriber of Subsys for

           Medicare beneficiaries nationwide during this time. This is more than

           six times the number of Subsys prescriptions for Medicare

           beneficiaries written by his closest competitor, who wrote

           approximately 203 such prescriptions.

     k.    AWERBUCH is a prolific biller of two categories of diagnostic tests,

           referred to as nerve conduction studies (NCS), and needle

           electromyographies (EMGs). Broadly speaking, these diagnostic tests

           are used to detect damage to nerves and muscles, and to help pinpoint

           the causes of such damage. A nerve conduction study measures how

           quickly electrical impulses move along a nerve. Nerve conductions

           studies typically take from 15 minutes to more than one hour. A


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             needle EMG measures the electrical activity of the muscle. A typical

             needle EMG can take as long as 25 minutes to one hour.

          CPT                        CPT DESCRIPTION

     95904        Nerve conduction, amplitude and latency/velocity study,
                  each nerve; sensory
     95903        Nerve conduction, amplitude and latency/velocity study,
                  each nerve; motor, with f-wave study
     95861        Needle measurement and recording of electrical activity of
                  muscles or arms or legs
     95864        Needle measurement and recording of electrical activity of
                  muscles in arms or legs
     95885        Needle measurement and recording of electrical activity of
                  muscles of arm or leg limited study
     95886        Needle measurement and recording of electrical activity of
                  muscles or arm or leg complete study


     l.      AWERBUCH used each of the above codes to bill Medicare and other

             insurers for nerve conduction studies and needle EMGs he purportedly

             performed. The table below illustrates the billed and paid amounts

             from Medicare and Blue Cross Blue Shield of Michigan (BCBSM) to

             AWERBUCH as they relate to the procedure codes at issue in this

             matter:




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CPT               MEDICARE                           BCBSM
                (Jan ’09 – Jan ‘14)             (Jan ‘ 09 – Mar ’14)

                 BILLED            PAID            BILLED              PAID
95904         $3,811,125.00    $1,316,694.27     $4,278,917.00   $1,224,573.34
95903         $2,071,479.00    $ 932,612.73      $2,904,213.00   $1,072,798.40
95861         $1,475,160.00    $ 351,697.08      $1,379,695.00   $ 252,052.93
95864         $ 535,120.00     $ 139,851.19      $ 560,630.00    $ 126,585.19
95885         $ 30,452.00      $    4,422.62     $ 25,900.00     $    1,231.89
95886         $ 949,136.40     $ 209,117.43      $ 579,250.00    $ 34,916.30
95887         $       300.00   $        58.62    $        0.00   $         0.00
              $8,872,772.40    $2,954,453.94     $9,728,605.00   $2,712,158.05


        m.   Information has revealed that AWERBUCH billed Medicare and Blue

             Cross Blue Shield of Michigan (BCBSM) for nerve conduction studies

             and electromyography tests which he did not actually provide.

        n.   Information received over the course of the criminal investigation

             developed from undercover patient visits, beneficiary interviews,

             expert witness reviews and the total monies received from Medicare,

             indicates that AWERBUCH prescribed Subsys outside the scope of

             legitimate medical practice and for no legitimate medical purpose.

        o.   Using a Medicare Part D Peer Comparison report ranking prescribers of

             Subsys shows that AWERBUCH is the number one prescriber both

             nationwide and in the State of Michigan. AWERBUCH’s

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           prescriptions for Subsys has cost the Medicare program almost $7

           million during the time period of January 2009 to February 2014, with

           his closest competitor having only prescribed $1,615,254 of this

           medication for Medicare beneficiaries.

     p.    AWERBUCH is also one of the leading billers of Medicare for needle

           EMGs and NCS nationwide. A nationwide peer comparison shows

           that AWERBUCH has reaped more than $5.6 million for such testing

           since January 2009, including approximately $464,591 from Medicare

           since January 2012.

     q.    AWERBUCH created a scheme of not actually performing electro

           diagnostic testing for which he billed Medicare and BCBSM.

           AWERBUCH billed for electro diagnostic tests on patients that were

           never actually performed. At least three of the patients that

           AWERBUCH billed bogus electro diagnostic tests for were undercover

           officers. Each of the officers went into AWERBUCH’s Saginaw

           office where AWERBUCH pretended to perform the diagnostic test on

           them by touching them with needles that were not hooked up to the

           EMG machine. No printout came out of the machine and it appeared

           that the machine was not functional. The undercover visits were


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           reviewed by a medical expert who determined that the diagnostic test

           was not real based upon the facts that no ground electrodes were placed

           on the patients, nor were tape measurements taken. In addition, the

           tests only lasted on average about two minutes, whereas legitimate

           electro diagnostic tests should last a minimum of 25 minutes.

     r.    Based on information obtained through investigation, a significant

           portion of AWERBUCH’s business is derived from fraudulent or

           fictitious billing, which resulted in a great accumulation of wealth

           through this illegal activity.

                              FINANCIAL INVESTIGATION

     s.    AWERBUCH has engaged in a number of financial transactions with

           the proceeds of his fraudulent activity. Between January 2009 and

           January 2014, AWERBUCH received over $5.6 million for EMGs and

           NCS testing. During this same time frame, AWERBUCH engaged in

           many financial transactions of over $10,000, from various business and

           personal bank accounts, as well as Merrill Lunch accounts held

           personally and in related business entities, often for the purchase of

           expensive, rare coins. Sizeable purchases were made with dealers of

           rare and collectible coins, as well as dealers of other types of collectible


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           items. These assets were purchased, at least in part, with criminally

           derived proceeds commingled in AWERBUCH’s various accounts.

     t.    When illegally obtained funds are commingled with legitimate funds in

           a bank account for the purpose of concealing or disguising the location,

           source, ownership, or control of the illegally obtained funds, all of the

           funds in the commingled accounts are subject to seizure and forfeiture.

     u.    Where commingling occurs, the Government need not separate out

           tainted money from any potentially clean money that may be contained

           in a bank account because all of the funds in the account constitute

           proceeds of unlawful activity and/or property “involved in” unlawful

           activity, or traceable thereto, and thus are subject to forfeiture.

     v.    From January 2008 through December 2013, approximately

           $11,017,880 in Medicare proceeds was deposited into AWERBUCH’s

           Fifth Third Bank Account XXXXXX7731. AWERBUCH conducted

           many purchases directly from this account, and also routinely

           transferred funds from this account into other accounts for both

           business and personal use.

     w.    The chart below summarizes over $9 million dollars in payments made

           from AWERBUCH’s business and personal bank accounts, as well as


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                  his Merrill Lynch accounts, to various coin and other collectible dealers

                  from 2008 through 2013:
              Payee                2008         2009           2010               2011           2012          2013          Total
   Kagin's Inc                  $ 801,736.70 $ 471,193.95 $ 1,602,778.00     $ 1,418,849.63 $ 1,947,318.75 $ 777,000.00 $ 7,018,877.03
   New World Rarities, Ltd      $ 115,000.00 $ 189,100.00 $    95,380.00     $ 126,700.00 $ 132,435.00 $ 15,000.00 $ 673,615.00
   Pegasi                       $  66,012.50 $ 168,008.25 $    64,827.75     $ 103,956.75 $      76,142.00 $ 59,250.00 $ 538,197.25
   Frederick Bart               $ 205,200.00 $ 120,025.00 $    35,000.00                                                $ 360,225.00
   Heritage Auction Galleries                $  11,402.20                    $ 163,853.05 $      21,000.00              $ 196,255.25
   David Lawrence Rare Coins                 $ 123,500.00                                                               $ 123,500.00
   Dave Hirschman               $  21,605.00 $  17,565.00 $     8,680.00     $    26,130.00 $    15,540.00 $ 19,035.00 $ 108,555.00
   William Rosenblum, LLC       $   8,803.00                                 $    47,758.50 $    35,248.50              $    91,810.00
   Honor Coin                                $  60,250.00 $    13,950.00     $    10,730.00 $     4,550.00 $ 2,200.00 $      91,680.00
   Coin Shop                    $  12,000.00 $   6,837.00 $     4,910.00                    $     7,600.00              $    31,347.00
   Nouthens Numismatic                       $  29,500.00                                                               $    29,500.00
   HLRC                         $  20,500.00 $   7,850.00                                                               $    28,350.00
   Stack's Numismatists                      $   8,185.05                    $    14,595.55                             $    22,780.60
   USMS Limited                                           $     5,315.00     $     8,320.00                $     700.00 $    14,335.00
   Mark Alberici                                                             $    12,500.00                             $    12,500.00
   Weiss Collectables                          $     1,500.00 $       500.00                                            $     2,000.00
      Total                     $ 1,250,857.20 $ 1,214,916.45 $ 1,831,340.75 $ 1,933,393.48 $ 2,239,834.25 $ 873,185.00 $ 9,343,527.13



       x.         At least 192 of the above summarized transactions were in excess of

                  $10,000 each in violation of Title 18 U.S.C. 1957.

       y.         In addition to Fifth Third Bank Account XXXXXX7731,

                  AWERBUCH maintained other accounts at Fifth Third Bank.

                  AWERBUCH also held accounts at PNC Bank and as previously

                  mentioned, AWERBUCH held numerous accounts at Merrill Lynch.

                  Investigation revealed that each of the accounts received significant

                  amounts of illegally obtained proceeds from AWERBUCH’s Fifth

                  Third Bank Account XXXXXX7731.

       z.         In April 2011, AWERBUCH’s investment accounts held at Charles

                  Schwab and Morgan Stanley were rolled into accounts held at Merrill



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           Lynch. Funds traced from Fifth Third Bank Account XXXXXX7731,

           show payments to Charles Schwab of at least $671,400 from May 2008

           through January 2011. An additional $94,000 was transferred from

           Fifth Third Bank Account XXXXXX7731, into Morgan Stanley Smith

           Barney between January 2008 and March 2011.

     aa.   Also from September 2011 through November 2013, AWERBUCH

           made deposits and transfers to his Merrill Lynch accounts totaling at

           least $329,914.68. AWERBUCH continued to close out accounts at

           Merrill Lynch by rolling the funds into new Merrill Lynch accounts.

     bb.   In addition to fund transfers to investment firms from AWERBUCH’s

           Fifth Third Bank Account XXXXXX7731, there were also transfers

           made from this account to other bank accounts.




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       cc.   Below is a chart with a sample of purchases made during 2013 from

             AWERBUCH’s various bank accounts:

         COINS/COLLECTIBLES PURCHASES - GREATER THAN $10,000
CHECK #          DATE             PAYEE             AMOUNT            BANK
1212             12/4/2013        KAGIN'S INC.      $100,000.00       5/3 BANK
5163             11/14/2013       KAGIN'S INC.      $30,000.00        5/3 BANK
1193             11/12/2013       KAGIN'S INC.      $65,000.00        5/3 BANK
WT               10/23/2013       KAGIN'S INC.      $100,000.00       5/3 BANK
28818            10/16/2013       KAGIN'S INC.      $30,000.00        5/3 BANK
1189             9/22/2013        KAGIN'S INC.      $45,000.00        5/3 BANK
1183             5/14/2013        KAGIN'S INC.      $100,000.00       5/3 BANK
1151             2/6/2013         KAGIN'S INC.      $50,000.00        5/3 BANK
5159             2/1/2013         KAGIN'S INC.      $20,000.00        5/3 BANK
1211             1/23/2013        KAGIN'S INC.      $30,000.00        5/3 BANK



       dd.   From September 2011 through November 2013, AWERBUCH made

             payments and transfers from his Fifth Third Bank Account No.

             XXXXXX7731 to Merrill Lynch accounts totaling at least

             $329,914.68. It is believed that these payments and transfers were

             proceeds of health care fraud, proceeds of distribution of controlled

             substances, and/or proceeds or funds involved in money laundering.

             The following dollar amounts were payments/transfers from Fifth




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           Third Bank Account No. XXXXXX7731 during the aforementioned

           time period to:

           Merrill Lynch Account No. XXX-X5623            $ 42,414.68

           Merrill Lynch Account No. XXX-X5618            $250,000.00

           Merrill Lynch Account No. XXX-X5635            $ 37,500.00

     ee.   AWERBUCH routinely commingled funds among his various

           accounts, including those which had received tainted funds. Between

           the approximate time period of November/December 2013,

           AWERBUCH made transfers involving the following accounts owned

           by him:

              • From Merrill Lynch Account No. XXX-X5623 to Merrill
                Lynch Account No. XXX-X8161 approximately $145,000 in
                securities.

              • From Merrill Lynch Account No. XXX-X5618 to Merrill
                Lynch Account No. XXX-X7984, approximately $1.1 Million
                Dollars in securities.

     ff.   Not only did AWERBUCH use criminally-derived proceeds to

           purchase luxury items such as rare coins, collectibles and automobiles,

           AWERBUCH also used these illegally obtained proceeds to purchase

           the real property located in Arizona, which is the subject of related civil

           forfeiture action, U.S. vs. Real Property Located at 6320 East Red

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              Range Way, Cave Creek, Maricopa County, Arizona, et al., Civil Case

              No. 14-cv-12045 (Honorable Thomas L. Ludington). AWERBUCH

              transferred funds back and forth between various accounts

              commingling criminally-derived funds with other business funds in

              order to purchase the Defendant Real Property.

      gg.     Based upon the information obtained through the course of

              investigation, the Defendant Property is subject to forfeiture for the

              reason that the Defendant Property is criminally derived proceeds of

              health care fraud and unlawful distribution of a controlled substance,

              and/or money laundering, and/or the Defendant Property constitutes

              property involved in or traceable to such offenses; and is, therefore,

              subject to forfeiture.

                               CLAIMS FOR RELIEF

      13.     Plaintiff re-alleges and incorporates by reference each and every

allegation contained in Paragraphs 1 through 12 above, including any subparagraphs

thereunder.

      14.     There is evidence that the Defendant Property is traceable to proceeds

derived from violations of federal drug statutes pursuant to 21 U.S.C. §§ 841 and

846, health care fraud pursuant to 18 U.S.C. §§ 1347 and 1349, and also constitutes


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